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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )   Chapter 11
                                                                )
    AMERICAN PHYSICIAN PARTNERS, LLC,                           )   Case No. 23-11469 (BLS)
    et al.,1                                                    )
                                                                )   (Jointly Administered)
                                   Debtors.                     )
                                                                )   Ref. Docket No. 698

                                   CERTIFICATE OF SERVICE

I, ARNOLD NGUYEN, hereby certify that:

1. I am employed as a Case Manager by Epiq Corporate Restructuring, LLC, with their
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the
   age of eighteen years and am not a party to the above-captioned action.

2. On December 26, 2023, I caused to be served the “Notice of Rescheduling Additional
   Deadlines Related to Confirmation of Combined Plan,” dated December 26, 2023 [Docket
   No. 698], by causing true and correct copies to be delivered via electronic mail to those
   parties listed on the annexed Exhibit A.

                                                                     /s/ Arnold Nguyen
                                                                     Arnold Nguyen




1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of American Physician
Partners, LLC’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5121
Maryland Way Suite 300, Brentwood, TN 37027.
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                    EXHIBIT A
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     AMERICAN PHYSICIAN PARTNERS, LLC, et al ., Case No. 23-11469 (BLS)
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